Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 1 of 6
Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 2 of 6
Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 3 of 6
Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 4 of 6
Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 5 of 6
Case 5:08-cr-04060-LRR-JSS   Document 702   Filed 04/28/09   Page 6 of 6
